                          UN ITED STA TES DISTRICT COURT
                      FOR THE SOUTHERN D ISTRICT OF FLORIDA

                                                   Case No.18-cv-62593
FED ERAL TRADE COM M ISSION ,
                                                   (FILED UNDER SEAL)
              Plaintiff,
                                                   EX PARTE TEM PO RA RY
                                                   RESTR AINING O RD ER W ITH
                                                   ASSET FR EEZE,APPO INTM EN T
SIM PLE HEALTH PLAN S LLC,a Florida lim ited       o F A TEM PO R ARY R ECEIVER,
liability company,etal.,                           AND OTHER EQIJITABLE RELIEF,
                                                   AN D O RDER TO SH O W CAU SE
              Defendants.                          w u v A PRELIM IN ARY
                                                   IN JUNCTIO N SH OULD N O T ISSUE

      Plaintiff, the Federal Trade Conlm ission, has filed its Com plaint for Perm anent

lnjunction and Other Equitable Relief pursuant to Section l3(b) of the Federal Trade
CommissionAct(ûTTC Act''),l5 U.S.C.l
                                   .i53(b),and in violation oftheFTC'S'
                                                                      T'elemarketing
SalesRule((;TSR''),16C.F.R.Part310,asamended,andhasmoved,pursuanttoFed.R.Civ.P.
65(b),foratemporaryrestrainingorder,assetfreeze,otherequitablerelief,and anordertoshow
causewhyapreliminaryinjunctionshouldnotissueagainstDefendants.
                                   FIND IN G S O F FA CT

       The Court, having considered the Com plaint, the ex parte M otion for a Tem porary

Restraining Order,declarations,exhibits,and the m em orandum of law filed in supportthereof,

and being othem ise advised,findsthat:

       A.     ThisCourthasjurisdictionoverthesubjectmatterofthiscase,andthereisgood
causetobelievethatitwillhavejurisdictionoverallpartiesheretoandthatvenueinthisdistrict
isproper.

       B.     There is good cause to believe that,in num erous instances,D efendants have sold

lim ited benefitplans and m edicaldiscountm em berships to consum ers by m isrepresenting that
such products are com prehensive health insurance,orthe equivalent of such insurance,or are

qualifiedhealthinsuranceplansunderthePatientProtectionandAffordableCareAct('CACA''or
l%Affordable CareAct''),42 U.S.C.j 180()1etseq. There is also good causeto believe that
Defendants have, in num erous instances, falsely represented that they are experts on, or

providers of,govem m ent-sponsored health insurance policies,such as those offered pursuantto

the A CA ,and are affiliated with the Blue CrossBlue Shield Association orA ARP.

              There is good cause to believe thatDefendantshave engaged in and are likely to

engage in actsorpracticesthatviolateSection 5(a)oftheFTC Act,l5U.S.C.j45(a),andthe
Telem arketing SalesRule,16 C .F.R.Part:
                                       .:
                                        rl0,and thatPlaintiff is therefore likely to prevailon

the m erits ofthis action. As dem onstrated by the consum er com plaints and declarations,expert

witness testim ony,records ofundercoverpurchases,corporate banking and paym entprocessing

records,as w ell as testim ony from form er employees,the FTC has established a likelihood of

success in show ing that Defendants have m ade false and m isleading statements in connection

with the advertising,m arketing,prom oting,offering forsale,orsale oftheirlim ited benefitplans

and m edicaldiscountm em berships.
              There is good cause to believe that im m ediate and irreparable harm will result

from Defendants' ongoing violations of the FTC A ct and the TSR unless Defendants are

restrainedandenjoinedbyorderofthisCourt.
               There is good cause to believe that,unless Defendantsare im m ediately restrained

andenjoinedbyorderofthisCourt,immediateandirreparabledamagetotheCourt'sabilityto
grant effective final relief for constlm ers including m onetary restitution, rescission,

 disgorgem ent orrefunds willoccur from the sale,transfer,destruction or other disposition or

 concealm entby D efendants oftheirassets or records;and that,in accordance w ith Fed.R .Civ.
P.65(b)andLocalRule7.l(d),theinterestsofjusticerequirethatthisOrderbegranted without
prior notice to D efendants. Thus,there is good cause for relieving Plaintiff of the duty to

provide D efendantsw ith priornotice ofitsJ'
                                           W otion foraTem porary Restraining Order.

               G ood cause existsforissuing thisOrder,appointing a tem porary receiveroverthe

Receivership Entities, freezing Defendallts' assets, permitting Plaintiff and the Receiver

im m ediate accessto D efendants'businessprem ises,and pennitting Plaintiffand the Receiverto

take expedited discovery.

         G.    W eighing the equities and considering Plaintiff's likelihood of ultim ate success

on the m erits,a tem porary restraining orderw ith an assetfreeze,the appointm entofa tem porary

receiver,im m ediate access to businessprem ises,expedited discovery,and otherequitable relief

isin the public interest.

         H.    ThisCourthasauthority to issue thisOrderpursuantto Section l3(b)ofthe FTC
Act,15U.S.C.j53(b);Fed.R.Civ.P.65,
                                 .andtheA1lW ritsAct,28U.S.C.j1651.
               Plaintiffis an independentagency ofthe United States. N o security is required of

any agency of the United States for issuance ofa temporary restraining order. Fed.R.Civ.P.

65(c).
                                        DEFINITIO N S

         Forthe purpose ofthis Order,the following definitionsshallapply:

         A.     ûûAsset'' includes any legal or equitable interest in, right to, or claim to, any

property,wherever located and by w hom everheld,and a11proceeds,product,offspring,rents,or

protstoforfrom thatproperty.

         B.     ûdcorporateDefendanttsl''meansSimple HeaIth PlansLLC;Health Benefits
O ne LLC ,also doing business as Hea1th Benefits Center,Sim ple Hea1th,Sim ple Hea1th Plans,
Sim ple lnsurance, Sim ple Insurance Plans, Sim ple A uto,Sim ple H om e, Simple Hom e Plans,

Sim ple Care,Sim ple Life, and N ationalIlental Savings'
                                                       ,H ealth Center M anagem ent LLC ;

lnnovative Custom er Care LLC ; Sim ple Insurance Leads LLC, also doing business as

Health lnsurance Senrices; and Senior Benefits O ne LLC, and each of their subsidiaries,

affiliates,successors,and assigns.

               ûûDefendanttsl'' means Corporate Defendantts) and lndividual Defendantts),
individually,collectively,orin any com bination.

       D       tûDocum ent'' is synonym olls in m eaning and equal in scope to the usage of

tzdocum ent'' and ûGelectronically stored                                          and includes

w ritings, draw ings, graphs,charts,photographs, sound and video recordings, im ages, lnternet

sites, web pages, websites, electronic correspondence, including em ail and instant m essages,

contracts,accounting data, advertisem ents, FTP Logs, Server A ccess Logs,books,written or

printed records, handw ritten notes, telephone logs, telephone scripts, receipt books, ledgers,

personaland business canceled checks and check registers,bank statem ents,appointm entbooks,

com puter records,custom er or sales databases and any other electronically stored infonuation,

including Docum ents located on rem ote servers or cloud com puting system s,and other data or

data com pilations from which inform ation can be obtained directly or, if necessary, after

translation into a reasonably usable form . A draftornon-identicalcopy is a separate docum ent

w ithin them eaning ofthe term .
                ttElectronic D ata H ost''nleans any person or entity in the business of storing,

hosting, or othenvise m aintaining electronically stored inform ation. This includes any entity

hosting a website or server,and any entity providing iicloud based''electronic storage.

                ûtlndividualDefendant''m eansSteven J.Dorfm an.


                                               4
       G.     GtReceiver''m eans the temporary receiver appointed in Section X1 ofthis O rder

and any deputy receiversthatshallbe nam ed by thetem porary receiver.

       H.     ûdReceivership Entities''means Corporate Defendantts)as wellas any other
entity thathas conducted any business related to D efendants'advertising,m arketing,prom oting,

offering forsale,orsale oflim ited benefitplansand m edicaldiscountm em bershipspincluding by

transferring,commingling,orreceivingAssetsderivedfrom anyactivitythatisthesubjectofthe
Complaint in this m atter, and that the R'eceiver determ ines is controlled or owned by any

Defendant.

                                           O RDER

       PR OH IBITED M ISR EPR ESEN RW TIO NS
       IT IS TH EREFO RE OR DERED that Defendants, Defendants' officers, agents,

em ployees,and attorneys,and a1lotherpersons in active concertorparticipation with them ,w ho

receive actualnotice of this Order,whether acting directly or indirectly,in connection w ith the

advertising,m arketing,prom oting,or offeling forsale ofany goods orservices,are tem porarily

restrainedandenjoinedfrom misrepresentingorassistingothersinmisrepresenting,expressly or
by im plication,any m aterialfact,including'
                                           .

              That D efendants' lim ited benefit plans and m edical discount m em berships are

com prehensive health insurance,orthe equivalentofsuch insurance;

       B.      Defendants'lim ited benefitplansand m edicaldiscountm em bershipsare qualified

health insurance plansunderthe Affordabll
                                        zCare Act;

       C.      Defendants are experts on, or providers of, goverllm ent-sponsored health

insurance policies,such asthose offered pllrsuantto M edicare and the Affordable Care Act;

       D.      D efendants are affiliated w ith A ARP orthe Blue CrossB lue Shield A ssociation;

Of
              A ny other fact m aterialto consum ers concerning any good or selw ice,such as:

the totalcosts;any m aterialrestrictions,lim itations,or conditions;or any m aterial aspectof its

perform ance,efficacy,nature,orcentralcharacteristics.

       PRO HIBITIO N O N RELEA SE O F CU STO M ER INFO RM ATIO N

       IT IS FU RTH ER O RDERED thatDefendants,D efendants'oftk ers,agents,em ployees,

and attorneys, and allother persons in active concert or participation w ith any of them ,who

receive actual notice of this Order, whether acting directly or indirectly, are temporarily

restrainedandenjoinedfrom:
       A.      Selling,renting,leasing,transferring,orotherw ise disclosing,the nam e,address,

birth date,telephone num ber,em ailaddress,credit card num ber,bank accountnum ber,Social

Security num ber,orother financialor identifying inform ation ofany person thatany Defendant

obtainedinconnectionwithanyactivitythatpertainstothesubjectmatterofthisOrder;or
       B.      Benefiting from or using the nam e,address,birth date,telephone num ber,em ail

address,creditcard num ber,bank accountnum ber,SocialSecurity num ber,orotherfinancialor

identifying inform ation of any person that any D efendant obtained in connection with any

activitythatpertainstothesubjectmatterofthisOrder.
       Provided,how ever,that Defendants m ay disclose such identifying inform ation to a law

enforcem ent agencys to their attorneys as required for their defense,as required by any law ,

regulation,or courtorder,or in any filings,pleadings or discovery in this action in the m anner

required by the FederalRules ofCivilProcedure and by any protectiveorderin the case.

111.   ASSET FREEZE
       IT IS FUR TH ER O RD ER ED that Defendants and their officers,agents, em ployees,

and attorneys, and allother persons in active concert or participation with any of them ,who
receive actual notice of this Order, whether acting directly or indirectly, are tem porarily

restrainedandenjoinedfrom:
       A.     Transfening, liquidating, converting, encum bering, pledging, loaning, selling,

concealing,dissipating,disbursing,assigning,relinquishing,spending,w ithdraw irtg,granting a

lien orsecurity interestorotherinterestin,orotherwise disposing ofany A ssetsthatare:

                     ow ned orcontrolled,directly orindirectly,by any Defendant;

                     held,in partorin whole,forthebenefitofany D efendant;

                     in the actualorconstructivepossession ofany Defendant;or

                     owned or ccmtrolled by, in the actual or constructive possession of, or

                     othenvise held for the benefit of, any corporation, partnership, asset

                     protection trtlst, or other entity that is directly or indirectly owned,

                     m anaged orcontrolled by any Defendant;

       B.     Opening orcausing to be opened any safe depositboxes,com m ercialm ailboxes,

orstoragefacilitiestitled inthenameofany Defendantorsubjectto accessbyany Defendant,
except as necessary to com ply with written requests from the Receiver acting pursuant to its

authority underthis Order,and afterproviding Plaintiffpriornotice and an opportunity to inspect

the contentsto detenninethatthey contain no A ssetscovered by thisSection'
                                                                         ,

       C.     lncurring charges or cash advances on any credit,debit,or ATM card issued in

thenamesindividuallyorjointly,ofanyCorporateDefendantoranycorporation,partnership,or
other entity directly or indirectly ow ned,lnanaged,or controlled by any Defendantor ofw hich

any Defendant is an officer, director, mem ber, Or m anager. This includes any corporate

bankcard orcorporate creditcard accountfbrw hich any Defendantis,orwason the datethatthis

Orderw as signed,an authorized signor;or
       D.     Depositing or cashing any checks or depositing any m oney orders or cash

received from consum ers,clients,orcustonlersofany Defendant.

       TheAssetsaffectedbythisSection shallinclude: (l)allAssetsofDefendantsasofthe
timethisOrderisentered;and (2)Assetsobtainedby DefendantsafterthisOrderisentered if
thoseAssetsarederived from anyactivity thatisthesubjectoftheComplaintinthismatteror
that is prohibited by this Order. This Section does notprohibit any transfers of Assets to the

Receiver or agreed to in w riting by Plaintiff, or repatriation of foreign A ssets specifically

required by thisOrder.

lV .   D UTIES OF A SSET H O LDER S AND OTH ER TH IRD PAR TIES
       IT IS FUR TH ER O R DER ED that any financial or brokerage institution,Electronic

D ata Host, credit card ptocessor, paym ent processor, m erchant bank, acquiring bank,

independent sales organization,third party processor,paym ent gateway, insurance com pany,

businessentity,orperson whoreceivesactualnoticeofthisOrder(byserviceorotherwise)and
that(a)holds,controls,ormaintainscustodyof,throughanaccountorothenvise,anyDocument
on behalf ofany Defendantor any Assetthat is: ow ned orcontrolled,directly or indirectly,by

any Defendant'
             , held, in part or in whole, for the benefit of any D efendant; in the actual or

constructive possession of any Defendant'
                                        , or owned or controlled by, in the actual or

constructive possession of, or otherwise held for the benefit of,any corporation,partnership,

assetprotection trust,orother entity that is directly or indirectly owned,m anaged or controlled

byany Defendant'
               ,(b)holds,controls,ormaintainscustody ofany Docum entorAssetassociated
w ith credits,debitsorchargesm ade on behalfofany Defendant,including resen'e funds held by

paym entprocessors,creditcard processors,m erchantbanks,acquiring banks,independentsales

organizations,third party processors,paym entgatew ays,insurance com panies,orother entities;
or(c)has held,controlled,ormaintained custody ofany such Document,Asset,oraccountat
any tim e since the date ofentry ofthis Ordershall:

       A.     Hold,preserve,and retain w ithin its controland prohibitthe withdrawal,rem oval,

alteration,assignm ent,transfer,pledge,encumbrance,disbursem ent,dissipation,relinquishm ent,

conversion,sale,or other disposalof any such Docum entorA sset,as wellas a11Docum entsor

otherproperty related to such Assets,exceptby furtherorderofthis Court;

              D eny any Person,exceptthe Receiver,accessto any safe depositbox,com m ercial

m ailbox,or storage facility that is titled i
                                            ù
                                            n the nam e of any D efendant,either individually or

jointly,orothenvisesubjecttoaccessbyarlyDefendant;
              Provide Plaintiff s counsel and the Receiver, w ithin three business days of

receiving a copy ofthisOrder,a sw orn statem entsetting forth,foreach Assetoraccountcovered

by thisSection:

                      The identification num berofeach such accountorAsset'
                                                                          ,

                      The balance ofeach such account,ora description ofthe nature and value

                      of each such A sset as of the close of business on the day on which this

                      Order is served, and, if the account or other A sset has been closed or

                      rem oved,the date closed orrem oved,the totalfunds rem oved in order to

                      close the account, and the nam e of the person or entity to w hom such

                      accountorotherAssetw asrem itted;and

               3.     The identitk ation of any safe deposit box, com m ercial m ail box, or

                      storage facility thatiseithertitled in thename,individuallyorjointly,of
                      anyDefendant,orisothenvisesubjecttoaccessbyanyDefendant;and
               Provide Plaintiffs counsel and the Receiver, w ithin five business days

requestfrom Plaintiff's counselorthe Receiver,with copies of allrecords or other Docum ents

pertaining to such account or Asset, including originals or copies of account applications,

account statem ents, signature cards, checks, drafts, deposit tickets, transfers to and from the

accounts, including wire transfers and w ire transfer instructions, all other debit and credit

instrum ents orslips,currency transaction reports,1099 form s,and a11logsand recordspertaining

to safe depositboxes,com m ercialm ailboxes,and storage facilities.

Provided,how ever,thatthis Section doesllotprohibitany transfersto the Receiver oragreed to

in w riting by Plaintiff,orrepatriation offoreign A ssetsspecifically required by thisorder.

       FINA NC IAI:DISC LO SURES
       IT IS FUR TH ER O RD ER ED thateach Defendant,w ithin five days of service ofthis

Orderupon them ,shallprepare and deliverto Plaintiffshcounsel:

       A.      completed financialstatem entson thefonnsattached to thisOrderasA ttachm ent

A (FinancialStatementoflndividualDefendant)foreachlndividualDefendant,andAttaehment
B (FinancialStatementofComorateDefendant)foreach Cop orateDefendant;and
       B.      completed AttachmentC ('
                                      IRS Form 4506,RequestforCopy ofaTax Retul'n)
foreach Individualand Corporate Defendant.

V1.    FO REIG N ASSET R EPA TRIATIO N
       IT IS FU RTH ER O RDER ED thatwithin five days following the service ofthis Order,

each D efendantshall:

       A.      Provide Plaintiff'scounseland the Receiverw ith a fullaccounting,verified under

oath and accurate as ofthe date ofthis Order,ofallA ssets,Docum ents,and accounts outside of

theUnitedStateswhichare:(1)titled inthename,individuallyorjointly,ofanyDefendant;(2)
held by any person or entity for the benefit of any D efendant or for the benest of any
corporation,partnership,assetprotection tn-
                                          lst,orotherentity thatis directly orindirectly ow ned,

managed orcontrolled by any Defendant;or(3)underthedirectorindirectcontrol,whether
jointlyorsingly,ofanyDefendant;
                Take a11steps necessary to provide Plaintiff's counseland Receiver access to a11

D ocum ents and recordsthatm ay be held by third parties located outside ofthe territorialUnited

States,including signing the Consentto Release of FinancialRecords appended to this Orderas

Attachm entD ;

                Transfer to the territory of the United States any and a1lD ocum ents and Assets

located in foreign countrieswhich are:('
                                       .
                                       1)titled in the name,individually orjointly,ofany
Defendant;(2)heldbyany personorentityforthebenefitofanyDefendantorforthebenefitof
any cop oration,partnership,assetprotection trust,or other entity that is directly or indirectly

owned,managed or controlled by any Defendant;or (3) under the direct or indirectcontrol,

whetherjointlyorsingly,ofanyDefendant;and
                Thesame businessdayasanyrepatriation,(l)notifythe Receiverand counselfor
Plaintiffofthe nam e and location ofthe financialinstitution orotherentity thatisthe recipientof

such DocumentsorAssets'
                      ,and (2)sel'
                                 ve this Order on any such Gnancialinstitution orother
entity.

VlI. NO N-INTERFERENCE W ITH IRE PATR IA TIO N
          IT IS FU RTH ER O R DERED thatDefendants,Defendants'oftscers,agents,em ployees,

and attorneys, and al1other persons in active concertor participation with any of them ,who

receive actual notice of this Order, w hether acting directly or indirectly, are tem porarily

restrained and enjoined from taking any action,directly orindirectly,which may resultin the
encum brance ordissipation offoreign A ssets,orin the hindrance ofthe repatriation required by

thisOrder,including'
                   .
                                                11
       A.      Sending any com m unication or engaging in any other act,directly or indirectly,

that results in a determ ination by a foreign trustee or other entity that a çûduress'' event has

occurred underthe term s ofa foreign trustagreem entuntilsuch tim e thatallDefendants'A ssets

have been fully repatriated pursuantto this'
                                           Order;or

       B.     Notifying any trustee,protectororotheragentofany foreign trustorotherrelated

entitiesofeitherthe existence ofthis Order,orofthe factthatrepatriation isrequired pursuantto

a courtorder,untilsuch tim e thatallD efelldants'A ssets have been fully repatriated pursuantto

thisO rder.

W H . CO NSU M ER C RED IT R EPO RTS
       IT IS FUR TH ER O RDERED that Plaintiff m ay obtain credit reports concerning any

Defendants pursuant to Section 604(a)(l) of the Fair Credit Reporting Act, 15 U.S.C.
jl68lb(a)(1),and that,upon written request,any creditreporting agency from which such
reportsare requested shallprovidethem to Plaintiff.

IX.    PRESER VA TIO N O F R EC OR DS
       IT IS FUR TH ER O RD ERED thatDefendants,Defendants'officers,agents,em ployees,

and attorneys,and all other persons in active concertor participation w ith any of them ,who

receive actual notice of this Order, w hether acting directly or indirectly, are tem porarily

restrainedand enjoinedfrom:
       A.      Destroying, erasing, falsifying, writing over, m utilating, concealing, altering,

transferring,or otherw ise disposing of, in any m anner, directly or indirectly, Docum ents that

relateto: (l)thebusiness,businesspractices,Assets,orbusinessorpersonalfinancesofany
Defendant;(2)the business practices or finances ofentitiesdirectly or indirectly under the
control ofany Defendant;or (3) the business practicesor finances of entities directly or
indirectly undercomm on controlw ith any otherDefendant'
                                                       ,or

                                               12
       B.     Failing to create and m aintain Docum ents that,in reasonable detail,accurately,

fairly, and com pletely reflect D efendants' incom es, disbursem ents, transactions, and use of

Defendants'Assets.

X.     REPO RT O F N EW BUSINESS AC TIVITY
       IT IS FURTH ER O RD ER ED thatDefendants,Defendants'officers,agents,em ployees,

and attorneys, and a11 other persons in active concertor participation w ith any of them ,w ho

receive actual notice of this Order, w hl
                                        zther acting directly or indirectly, are tem porarily

restrained and enjoined from creating,operating,orexercising any controloverany business
entity, w hether new ly form ed or previously inactive, including any partnership, lim ited

partnership,jointventure,soleproprietorsl
                                        nip,orcorporation,withoutfirstproviding Plaintiff's
counselandtheReceiverwithawrittenstatementdisclosing:(l)thenameofthebusinessentity'
                                                                                  ,
(2) any fictitious business names associated with the entity; (3) the address and telephone
number ofthe business entity'
                            ,(4) the state of incorporation or organization of the business
entity'
      ,(5)the Employee Identification Nttmberor FederalEmployerldentification Numberof
the business entity; (6) the names of the business entity's officers, directors,principals,
managers,and employees'
                      ,and (7) a detailed description ofthe business entity's intended
activities.

X1.    TEM POR ARY R ECEIW R
       IT IS FUR TH ER OR DERED thatM ichaelGoldberg is appointed astem porary receiver

CkReceiver'')oftheReceivership Entitiesw'ith fullpowersofan equity receiver. TheReceiver
shallbe solely the agentofthis Coul'tin acting asReceiverunderthisOrder.

X11. DUTIES A ND A UTH O RITY OF RE CEIVER
        IT IS FU RTH ER O RD ER ED that the Receiver is directed and authorized to

accom plish the follow ing:
              Assum e fullcontrolof Receivership Entitiesby rem oving,as the Receiver deem s

necessary or advisable, any director, officer,independent contractor, em ployee, attorney, or

agentofany Receivership Entity from controlof,m anagem entof,orparticipation in,the affairs

ofthe Receivership Entity;
       B.     Take exclusive custody,control,and possession ofallA ssets and Docum ents of,

orin the possession,custody,orunderthe controlof,any Receivership Entity,whereversituated,

including Assets the Receiverhas a reasonable basisto believe were purchased using funds from

any Receivership Entity'scorporate accounts,including,butnotlim ited to:

                     Item s purchased w ith the follow ing w ire transfers from a Receivership

              Entity'sbank accountsto Alninoffand Co LLC:

                             June l,2015 transferof$24,500;

                             April20,2016transferof$43,500)
                             January 26,2017transferof$500,000;

                             January 27,2017 transferof$160,000;

                             January 27,2017transferof$7,500;
                             December7,2017transferof$63,000;
                             February22,20l8transferof$155,000;and

                     h)      M arch l5,2(Il8transferof$95,000.
                     ltem s purchased with a Receivership Entity's Am erican Express card in

              the following transactions:

                     a)      March20,2016,$6,8l3.45atCartier;
                     b)      December19,2016,$15,789.90atCartier;
                             Decem ber19,20l6,$3,428.36 atT-BirdJewels;


                                              14
                      d)     September15,20l7,$45,948atCartier;
                             December21,2017,$23,582 atCartier;

                             January29,2018,$3,959 atHarry W inston;and
                             M arch 17,2018,$l,440atTiffany.
                      Any vehicle purchased w ith fundsfrom a Receivership Entity ortitled to a

              Receivership Entity,including,withoutlim itation,the following vehicles:

                             2012 Lam borghiniAventador,Vm # ZHW U C1ZD7CLA 0045l;

                             2013 Land Rover Range Rover,V m # SA LGV 2E171DA l0032l;

                      and

                             2015 Rolls-Royce W raith,Vm # 5CA 665C541717X 85225.

              Conserve,hold,m anage,alld prevent the loss of allA ssets of the Receivership

Entities,and perfonn al1acts necessary oradvisable to presel'
                                                            ve the value ofthose A ssets. The

Receivershallassum e controloverthe income and profitstherefrom and allsum sofm oney now

orhereafterdue orow ing to the Receivership Entities. The Receiver shallhave fullpowerto sue

for,collect,and receive al1A ssets ofthe Receivership Entities and of otherpersons or entities

whose interests are now under the direction,possession,custody,orcontrolof,the Receivership

Entities. Provided,how ever,that the Receiver shallnot attem ptto collect any am ount from a

consum er ifthe Receiver believes the consum er's debtto the Receivership Entities has resulted

from the deceptive acts or practices or otller violations of 1aw alleged in the Com plaint in this

m atter,w ithoutpriorCourtapproval'
                                  ,

       D.      Obtain, conserve,hold, m anage, and prevent the loss of al1 Docum ents of the

Receivership Entities,and perform a11acts necessary or advisable to presel've such Docum ents.

The Receiver shall: divertm ail;preserve a11D ocum ents of the Receivership Entities that are
accessible via electronic means (such as online access to financialaccounts and access
electronic docum ents held onsite or by Electronic D ata Hosts, by changing usernam es,

passwords or other log-in credentials); take possession of al1 electronic Documents of the
Receivership Entities stored onsite or rernotely; take whatever steps necessary t() preserve al1

such D ocum ents;and obtain the assistance ofthe FTC'SD igitalForensic Unitforthe pum ose of

obtaining electronic docum entsstored onsite orrem otely;

              Choose, engage, and em ploy attorneys, accountants, appraisers, and other

independentcontractorsand technicalspecialistsasthe Receiverdeem sadvisable ornecessary in

theperfonnance ofdutiesand responsibilitiesunderthe authority granted by thisOrder'
                                                                                  ,

              M ake paym ents and disbursem ents from the receivership estatethatare necessary

or advisable forcarrying outthe directions of,orexercising the authority granted by,thisOrder,

and to incur,orauthorize the m aking of,such agreem ents as m ay be necessary and advisable in

discharging his or her duties as Receiver. The Receiver shall apply to the Court for prior

approvalofany paym entofany debtorobligation incurred by the Receivership Entitiespriorto

the date ofentry ofthis Order,exceptpaym ents thatthe Receiver deem s necessary or advisable

to secure AssetsoftheReceivership Entities,such asrentalpaym ents;

              Take a11 steps necessary tc,secure and take exclusive custody of each location

from which the Receivership Entities operate their businesses. Such steps m ay include,as the

Receiverdeemsnecessary oradvisable: (1)securing the location by changing the locksand
alal'
    m codes and disconnecting any internet access or other m eans of access to the com puters,

servers,internalnetworks,orotherrecordsmaintained atthatlocation'
                                                                ,and (2)requiring any
persons present at the location to leave the prem ises,to provide the Receiver w ith proof of

identification,and/orto dem onstrate to the satisfaction ofthe Receiverthatsuch personsare not
rem oving from the prem ises D ocum ents or A ssets of the Receivership Entities. Law

enforcem ent personnels including police or sheriffs,m ay assist the Receiver in im plem enting

these provisions in order to keep the peace and m aintain security. lfrequested by the Receiver,

the United States M arshalw illprovide appropriate and necessary assistance to the Receiver to

im plem entthisOrderand isauthorized to use any necessary and reasonable force to do so;

       H.     Take al1stepsnecessary to preventthe m odification,destnlction,orerasure ofany

w eb page orw ebsite registered to and operated,in whole or in part,by any Defendants,and to

provide access to all such web page or websites to Plaintiff's representatives, agents, and

assistants,aswellasDefendantsand theirrepresentatives;

              Enterinto and cancelcontractsand purchase insurance asadvisable ()rnecessary;

       J.     Preventtheinequitable distribution ofAssetsand determine,adjust,and protect
the interestsofconsurners'
                         who have transacted businesswith the Receivership Entities;

               M ake an accounting,as soon aspracticable,ofthe A ssetsand fnancialcondition

ofthe receivership and file the accounting w ith the Courtand delivercopiesthereofto allparties;

               Institute,compromise,adjlIst,appear in,intervene in,defend,dispose of,or
otherwise becom e party to any legal action in state, federal or foreign courts or arbitration

proceedingsasthe Receiverdeem snecessary and advisable to preserve or recoverthe Assetsof

the Receivership Entities, or to carry out the Receiver's m andate under this Order,including

actions challenging fraudulent or voidable transfers and including any claim s the Receivership

Entitiesm ay have in law orequity againstany third party;

        M.     lssue subpoenas to obtain llocum ents and records pertaining to the receivership,

and conductdiscovery in thisaction on behalf ofthe receivership estate,in addition to obtaining

otherdiscovery assetforth in this Order;
       N.      Open one or m ore bank accounts at designated depositories for funds of the

Receivership Entities. The Receiver shall deposita1lfunds ofthe Receivership Entities in such

designated accounts and shallm ake a11payments and disbursem ents from the receivership estate

from such accounts. The Receiver shall serve copies of m onthly account statem ents on al1

parties;

       0.      Nfaintain accurate recordsofa11receiptsand expenditures incurred asReceiver,
                                                                                          -

               A llow Plaintiff srepresentatives,agents,and assistants,as wellas

Defendants and their representatives, reasonable access to the prem ises of the Receivership

Entities,orany otherprem iseswherethe Receivership Entitiesconductbusiness. Thepurpose of

this access shallbe to inspect and copy any and allbooks,records,D ocum ents,accounts,and

otherproperty owned by,or in the possession of,the Receivership Entities ortheiragents. The

Receiver shallhave the discretion to determ ine the tim e,m anner,and reasonable conditions of

such access'
           ,

       Q.      Allow Plaintiffsrepresentatives,agents,and assistants,aswellasDefendantsand
theirrepresentatives reasonable access to al1Docum ents in the possession,custody,orcontrolof

theReceivership Entities;

       R.      Cooperate w ith reasonable requestsforinfonpation orassistance from any stateor

federalcivilorcrim inallaw enforcem entagency'
                                             ,

       S.      SuspendbusinessoperationsoftheReceivershipEntitiesifinthejudgmentofthe
Receiversuch operationscannotbe continued legally and profitably;

               If the Receiver identifies a nonparty entity as a Receivership Entity,prom ptly

notify the entity as wellas the parties,and inform the entity thatitcan challenge the Receiver's

determ ination by filing a m otion with the Court. Provided,however,thatthe Receiverm ay delay


                                               18
providing such notice untilthe Receiver llas established controlof the nonparty entity and its

assets and records,ifthe Receiver detenuines thatnotice to the entit'
                                                                    y or the parties before the

Receiver establishes controlover the entity m ay result in the destruction of records,dissipation

ofassets,orany otherobstruction ofthe Receiver'scontrolofthe entity;

              lfintheReceiver'sjudgmelltthebusinessoperationscannotbecontinuedlegally
and profitably,take a1lstepsnecessary to ensure thatany ofthe Receivership Entities'w eb pages

orw ebsitesrelating to the activities alleged in the Complaintcannotbe accessed by the public,or

are m odified for consum er education and/clrinform ationalpurposes,and take a11steps necessary

to ensure that any telephone num bers associated w ith the Receivership Entities cannot be

accessed by the public,or are answered solely to provide consum er education or information

regarding the statusofoperations'
                                ,and

               File with the Court,on orbefore the date setin Section XX V ofthis Order forthe

hearing to show cause,areportoutlining (l)the stepstakenbytheReceiverto implementthe
termsofthe Order;(2)the value ofa1lassets and sum ofallliabilities ofthe Receivership
Entities'
        ,(3)the stepstheReceiverintendsto take in thefutureto protectreceivership assets,
recover receivership assets from third parties, and adjust receivership liabilities; (4) the
Receiver's opinion on w hether any portion ofthe business of any of the Receivership Entities

can continue to operate legally and profkably;and (5) any other m atters thatthe Receiver
believesshould be broughtto the Court'sattention.

X IlI. TR ANSFER O F RECEIV ERSH IP PR O PER TY TO RECEIVER
       IT IS FUR TH ER O RD ERED that D efendants and any other person with possession,

custody or control of property of,or records relating to,the Receivership Entities shall,upon

notice ofthisOrderby personalservice orothenvise,fully cooperate with and assistthe Receiver

in taking and m aintaining possession,custody,or controlof the Assets and Docum ents ofthe
                                               19
Receivership Entities and im m ediately transfer or deliver to the Receiver possession,custody,

and controlof,the follow ing:

       A.     A llA ssetsheld by or forthe benefitofthe Receivership Entities;

              A1lDocum ents oforpertaining to the Receivership Entities;

              A11com puters, m obile devices, tablets, and other electronic storage devices or

m achinesused to conductthe businessoftheReceivership Entities'
                                                              ,

              A11A ssets and Documents belonging to otherpersons or entitiesw hose interests

areunderthe direction,possession,custody'
                                        ,orcontrolofthe Receivership Entities;and

              A1lkeys,codes,user nam es and passwords necessary to gain or to secure access

to any Assets or Docum ents of or pertaining to the Receivership Entities, including access to

their business premises,means of comnlunication,accounts,computer systems (onsite and
remote),ElectronicDataHosts,orotherpnlperty.
ln the eventthatany person orentity fails to deliver or transfer any Assetor Document,or
otherwise fails to com ply w ith any provision ofthis Section,the Receiverm ay file,ex parte,an

A ffidavit of N on-com pliance regarding the failure and a m otion seeking compliance or a

contem ptcitation. Upon the filing ofthe affidavit,the Courtm ay authorize,w ithoutadditional

process or dem and,W rits of Possession or Sequestration or other equitable writs requested by

the Receiver. The writs shall authorize and direct the United States M arshalor any sheriff or

deputy sheriff of any county,or any other'federalor state law enforcem ent officer,to seize the

asset,Docum ent,orotherthing and to deliveritto the Receiver.

XIV. PR O W SIO N OF INFO R M ATIO N TO RECEIVER
       IT IS FU RTH ER O RD ER ED that Defendants shall im m ediately provide to the

Receiver:



                                              20
       A.     A listof a1lA ssets and accounts ofthe Receivership Entitiesthatar'
                                                                                e held in any

nam e other than the nam e of a Receivership Entity,or by any person or entity other than a

Receivership Entity;

       B.     A list of a1lagents,em ployees,officers,attolmeys,servants and those persons in

active concertand participation w ith the Receivership Entities,or wh0 have been associated Or

done businessw ith the Receivership Entities;and

              A description ofany D ocunlents covered by attom ey-clientprivilege or attonaey

w ork product, including files where such D ocum ents are likely to be located, authors or

recipientsofsuch Docum ents,and search tel'm slikely to identify such electronic Docum ents.

XV . CO OPEM TIO N W ITH TH E RIE
                                ,CEIS'ER
                                '
       IT IS FU RTH ER O RDERED that Defendants;Receivership Entities;Defendants' or

Receivership Entities' officers, agents, ernployees, and attorneys, a1l other persons in active

concert or participation w ith any of them ,and any other person with possession,custody,or

controlofproperty oforrecords relating to theReceivership entities who receive adualnotice of

this Order shallfully cooperate with and assistthe Receiver. This cooperation and assistance

shall include providing infonuation to tie Receiver that the Receiver deem s necessary to

exercise the authority and discharge the responsibilities of the Receiver under this Order,
                                                                                          '
providing any keys, codes, user nam es and passw ords required to access, and allow ing the

Receiver to inspect,any computers,m obile devices,tablets and other electronic storage devices

and machinestonsiteorremotely)and arlycloud account(includingspecificmethodtoaccess
account) or electronic file in any medium; advising a1lpersons who owe money to any
Receivership Entity that a1ldebts should be paid directly to the Receiver'
                                                                         ,and transferring funds

at the Receiver's direction and producing records related to the A ssets and sales of the

Receivership Entities.
                                              21
XW . NO N-IN TER FER EN CE W ITH I'
                                  H E R ECEIVER

       IT IS FURTH ER O RDERED that Defendants; Receivership Entities;Defendants' or

Receivership Entities' officers, agents, ernployees, attorneys, and al1 other persons in active

concertorparticipation with any ofthem ,who receive actualnotice ofthis Order,and any other

personsen'edwithacopyOfthisOrder,arerestrainedandenjoinedfrom directlyorindirectly:
              Interfering with the Receiver's efforts to m anage, or take custody, control, or

possessionof,theAssetsorDocumentssutj
                                    'ecttothereceivership'
                                                         ,
       B.     Transacting any ofthe businessofthe Receivership Entities'
                                                                       ,

              Transfening, receiving, altering, selling, encum bering, pledging, assigning,

liquidating, or otherwise disposing of aqi
                                         y A ssets ow ned, controlled, or in the possession or

custody of,orin w hich an interest isheld orclaim ed by,the Receivership Entities'
                                                                                 ,()r

       D.     Refusing to cooperate w ith the Receiver orthe Receiver's duly authorized agents

in the exercise oftheirduties orauthority underany orderofthisCourt.

XV1l. STA Y OF A CTION S
       IT IS FURTH ER O RDER ED that,exceptby leave ofthis Court,during the pendency

of the receivership ordered herein, D efendants, Defendants' officers, agents, em ployees,

attorneys,and allother persons in active concertorparticipation with any ofthem ,who receive

actualnotice of this Order,and their corporations,subsidiaries,divisions,or affiliates,and a1l

investors,creditors,stockholders,lessors,custom ers and other persons seeking to establish or

enforce any claim ,right,orinterestagainstor on behalfofDefendants,and al1others acting for

or on behalfofsuch persons,are enjoined from taking action thatwould interfere with the
exclusivejurisdiction ofthisCourtovertl
                                      neAssetsorDocumentsoftheReceivership Entities,
including'
         .
              Filing orassisting in the filing ofapetition forreliefunderthe Bankruptcy Code,

11 U.S.C.j 10letseq.,orofany similarinsolvency proceeding on behalfofthe Receivership
Entities'
        ,

               Commencing,prosecuting,orcontinuingajudicial,administrative,orotheraction
orproceeding againstthe Receivership Entt
                                        ities,including the issuance orem ploym entofprocess

againstthe Receivership Entities,exceptthatsuch actionsm ay be com m enced ifnecessary to toll

any applicable statute oflim itations;or

               Filing or enforcing any lien on any asset ofthe Receivership Entities,taking or

attempting to take possession,custody,or controlofany A sset ofthe Receivership Entities;or

attempting to foreclose,forfeit,alter,orteq
                                          rm inate any interestin any AssetOfthe Receivership

Entities,whethersuchactsarepartofajudicialproceeding,areactsofself-help,orotherwise.
Provided,however,thatthis Orderdoes notstay: (1)the com mencementorcontinuation ofa
criminalactionorproceeding'
                          ,(2)thecomlnencementorcontinuationofanaction orproceeding
by a governmentalunitto enforce such govemmentalunit'spolice orregulatol'y power;or(3)
the enforcement of a judgment, other than a money judgment, obtained in an action or
proceeding by a governm ental unit to emforce such governm ental unit's police or regulatory

POWer.
XVH I.C OM PENSA TIO N O F RE CEIV ER
       IT IS FU RTH ER O R DERED thatthe Receiverand allpersonnelhired by the Receiver

as herein authorized, including counsel to the Receiver and,accountants, are entitled to

reasonable com pensation forthe perfonnance ofdutiespursuantto thisOrderand forthe costof

actualout-of-pocketexpenses incurred by them ,from the A ssets now held by,in the possession

or control of,or w hich m ay be received by,the Receivership Entities. The Receiver shallt5le

w ith the Courtand serve on the parties periodic requests for the paym ent of such reasonable
                                              23
com pensation,with the first such requestfiled no m ore than sixty days afterthe date ofentry of

this Order. The Receiver shall not increase the hourly rates used as the bases for such fee

applicationsw ithoutpriorapprovalofthe C'ourt.

XIX . RECEIVER 'S BO ND
       IT IS FUR TH ER O RD ER ED thatthe Receiver shallt5le with the Clerk ofthis Courta

bond in the sum of $50,000 with sureties to be approved by the Court,conditioned thatthe
Receiverw illw elland truly perform the dutiesofthe office and abideby and perfolm allactsthe

Courtdirects.28U.S.C.j754.
X X. IM M EDIA TE A CCESS TO BUSTINESS PR EM ISE S A ND REC OR DS

       IT IS FURTH ER O RD ER ED that:

       A.     To allow Plaintiff and the Receiver to preserve A ssets and evidence relevant to

thisaction and to expedite discovery,Plaintiffand the Receiver,and theirrepresentatives,agents,

contractors,and assistants, shall have im rnediate access to any business prem ises and storage

facilitiesowned,controlled,orused bytheReceivership Entities. Such locationsinclude:(l)2
Oakwood Plaza,Suite l00,Hollywood,Florida 330219(2)8400 DoralBoulevard,Suite260,
Doral,Florida33166;(3)5720LyndonB.JohnsonFreeway,Suite610,Dallas,Texas75240;(4)
1769 B lount Road, Unit 109, Pom pano Beach, Florida 33069, and any offsite location or

com m ercial m ailbox used by the Receivership Entities, including, w ithout lim itation, 3389

Sheridan Street #632,H ollywood,Florida 33021, l722 Sheridan Street,Ste.628,Hollywood,

Florida 33020,and 401 East Las Olas l3('
                                       .
                                       4-627,FortLauderdale,Florida 33301. The Receiver

m ay exclude Defendants,Receivership Entities,and their em ployeesfrom the business prem ises

during the im m ediate access;

               Plaintiff and the Receiver. and their representatives, agents, contractors, and

assistants,are authorized to obtain the assistance of federal,state and local 1aw enforcem ent

                                              24
officers as they deem necessary to effect service and to im plem entpeacefully the provisions of

thisSection;

               Plaintiff and the Receiver, and their representatives, agents, contractors, and

assistants, are authorized to remove Docum ents from the Receivership Entities'
                                                                              'prem ises in

order that they m ay be inspected,inventaried,and copied. Plaintiff shallreturn any rem oved

m aterials to the Receiver within five busiress days ofcom pleting inventorying and copying,or

such tim e asisagreed upon by Plaintiffand the Receiver;

       D.      Plaintiff s accessto the Receivership Entities'Docum ents pursuantto thisSection

shallnotprovidegroundsforany Defendanttoobjectto anysubsequentrequestfbrDocuments
served by Plaintiff;

               lf any Docum ents,com puters,m obile devices,tablets,or other electronic storage

devices containing infonnation related to the business practices or finances of the Receivership

Entities are ata location otherthan those listed herein,including personalresidencets)ofany
D efendant,then,im m ediately upon receiving notice of this order,D efendants and Receivership

Entities shallproduce to the Receiver a11 such D ocum ents,com puters,m obile devices,tablets,

and otherelectronic storage devices,along with any codesorpassw ordsneeded foraccess;and

       F.      If any com m unications or records of any Receivership Entit'
                                                                           y are stored w ith an

Electronic Data Host,such Entity shall,im mediately upon receiving notice ofthisorder,provide

the Receiver w ith the usernam e,passw ords,and any other login credentialneeded to access the

com m unicationsand records,and shallnotattemptto access,or cause a third party to attem ptto

access,the com m unicationsorrecords.

u I. DISTRIBU TIO N O F O RD ER Bll
                                  rDEFENDA NTS
       IT IS FU RTH ER O R DERED thatDefendants shallim m ediately provide a copy ofthis

O rder to each affiliate,telem arketer,m arketer,sales entity,successor,assign,m em ber,officer,
                                              25
director,em ployee,agent,independentcolltractor,client,attorney,spouse,subsidiary,division,

and representative of any Defendant,and shall,w ithin ten days from the date of entry of this

Order,provide Plaintiff'scounseland the Iteceiverwith a sworn statem entthatthis provision of

the Order hasbeen satisfied,which statem entshallinclude the nam es,physicaladdresses,phone

num ber,and em ailaddresses of each such person or entity w ho received a copy of the Order.

Furtherm ore, D efendants shall not take any action that w ould encourage officers, agents,

m em bers,directors, em ployees, salespersons, independent contractors,attorneys, subsidiaries,

affiliates,successors,assigns or otherpersons or entities in active concertorparticipation with

them to disregard this Orderorbelieve thatthey arenotbound by itsprovisions.

XXll. EXPEDITED DISCO VER Y
       IT IS FU RTHER O RDER ED that,notwithstanding the provisionsofthe Fed.R .Civ.P.

26(d)and(9 and 30(a)(2)(A)(iii),andpursuanttoFed.R.Civ.P.30(a),34,and45,Plaintiffand
the Receiver are granted leave, at any tim e after service of this Order, to conduct lim ited

expedited discovel'
                  y forthe purposeofdiscovering: (1)the nature,location,status,andextentof
Defendants'Assets;(2)thenature,locatioll,andextentofDefendants'businesstransactionsand
operations;(3)Documentsretlecting Detkndants'businesstransactionsand operations'
                                                                               ,or(4)
compliance with this Order. The lim ited expedited discovery set forth in this Section shall

proceed asfollow s:

              Plaintiff and the Receiver m ay take the deposition of parties and non-parties.

Forty-eight hours of notice shallbe sufficientnotice for such depositions. The lim itations and

conditions set forth in Fed R.Civ.P. 30(a)(2)(B) and 31(a)(2)(B) regarding subsequent
depositions ofan individualshallnotapply to depositions taken pursuant to this Section. A ny

such deposition taken pursuantto this Section shallnotbe counted towardsthe deposition lim it



                                              26
set forth in Fed R. Civ.P. 30(a)(2)(A) and 31(a)(2)(A) and depositions may be taken by
telephone orotherrem ote electronicm eans.

       B.     Plaintiff and the Receiver m ay sel've upon parties requests for production of

Docum ents or inspection that require production or inspection w ithin five days of service,

provided,however,thatthreedaysofnotice shallbedeemed sufficientfortheproduction ofany

such Docum entsthatare m aintained orstored only in an electronic form at.

              Plaintiff and the Receiver m ay serve upon parties interrogatories that require

response w ithin five daysofservice.

       D.     Plaintiff and the Receiver m ay serve subpoenas upon non-parties that direct

production orinspection within five daysof-service.

              Service of discovery upon a party to this action,taken pursuant to this Section,

shallbe sufficientifm ade by facsim ile,em ail,orby ovem ightdelivery.

              Any expedited discovery taken pursuantto this Section is in addition to,and isnot

subjectto,thelimitsondiscoverysetforthintheFederalRulesofCivilProcedureandtheLocal
Rules of this Court. The expedited discovery pennitted by this Section does not require a

meetingorconferenceoftheparties,pursuanttoFedR.Civ.P.26(d)and(9.
               The parties are exem pted from m aking initialdisclosures under Fed.R .Civ.P.

26(a)(1)untilfurtherorderofthisCourt.
XXIII.SER VICE OF TH IS O RDER
       IT IS FURTH ER OR DERED that copies of this Order as well as the M otion for

Tem porary Restraining Order and a11 other pleadings, Docum ents, and exhibits filed

contemporaneouslywiththatM otion(otherthantheComplaintandsummons),maybeservedby
any m eans, including facsim ile transm ission, electronic m ail or other electronic m essaging,

personalorovernightdelivery,U .S.M ailorFedEx,by agents and employees ofPlaintiff,by any
                                              27
law enforcem ent agency, or by private process selwer, upon any Defendant or any person

(including any financialinstitution)thatmay havepossession,custody orcontrolofany Assetor
Documentofany Defendant,orthatmay besubjecttoanyprovisionofthisOrderpursuantto
Fed.R.Civ.P.65(d)(2). Forpurposesc'
                                  fthisSection,service upon any branch,subsidiary,
affiliate oroffice ofany entity shalleffectservice upon the entire entity.

XXIV.CO RRE SPON DENCE AN D SERW CE O N PLM N TIFF
       IT IS FURTH ER O R DERED that,for the purpose of this Order, al1 correspondence

and service ofpleadingson Plaintiffshallbe addressed to:

               Elizabeth Scot'
                             t
               Jam esD avis
               230 South D earborn,Suite 3030
               Chicago,lllinois 60604
               312-960-5634(phone)
               312-960-5600(fax)
              escott@ftc.gov
              jdavis@ ftc.gov
u V . PRELIM IN AR Y INJU NCTION H EAR IN G

       IT IS FURTHER ORDERED that,pursuanttoFed.R.Civ.P.65(b),Defendantsshall
appearbeforethis Courton the 14th day ofN ovem ber,2018,at 1l:00am ,to show cause,ifthere

isany,why this Courtshould notenterapreliminary injunction,pending finalruling on the
ComplaintagainstDefendants,enjoining the violationsofthe 1aw alleged in the Complaint,
continuing the freeze oftheir Assets,continuing the receivership,and im posing such additional

reliefasm ay be appropriate.

U VI.BR IEFS A ND AFFIDA W TS CO NCERM NG PRELIM IN ARY INJUN CTION

       IT IS FUR TH ER O R DER ED that:

       A.      Defendants shall t5le with the Court and serve on Plaintiff s counsel any

answering pleadings,affidavits,m otions,expertreports or declarations,or legalm em oranda no


                                                28
laterthan five business days priorto the orderto show cause hearing scheduled pursuantto this

Order. Plaintiff m ay t5le responsive or supplem ental pleadings, m aterials, affidavits, or

m em oranda with the Court and serve the sam e on counsel for D efendants no later than one

business day priorto the order to show calzse hearing. Provided that such affidavits,pleadings,

m otions, expert reports, declarations, legal m em oranda or oppositions m ust be served by

personalor overnight delivery,facsim ile orem ail,and be received by the otherparty orparties

nolaterthan5:00p.m.(CentralTime)ontheappropriatedatessetforthinthisSection.
       B.     An evidentiary hearing on Plaintiffsrequestforapreliminary injunction isnot
necessary unless Defendants dem onstrate that they have,and intend to introduce,evidence that

raises a genuine and m aterialfactual issue. The question of whether this Courtshould enter a

preliminary injunctionshallberesolvedonthepleadings,declarations,exhibits,andmemoranda
filed by,and oralargum entof,the parties. Live testim ony shallbe heard only on furtherorderof

this Court. Any m otion to perm it such testim ony shallbe filed w ith the Courtand served on

counselfortheotherpartiesatleastfivedayspriortothepreliminaryinjunctionhearingin this
m atter. Such m otion shallsetforth the nam e,address,and telephone num ber of each proposed

w itness, a detailed sum m ary or affidavit revealing the substance of each proposed witness's

expected testim ony,and an explanation ofwhy the taking of live testim ony would be helpfulto

this Court. Any papers opposing a tim ely m otion to present live testim ony or to present live

testim ony in response to another party's tim ely m otion to present live testim ony shallbe filed

w ith this Courtand served on the otherpartiesatleastthree dayspriorto the orderto show cause

hearing.




                                               29
       Provided,how ever,that service shall be perform ed by personalor overnight delivery,

facsim ile or em ail,and Docum ents shallbe delivered so thatthey shallbe received by the other

partiesnolaterthan5:00p.m.(CentralTime)ontheappropriatedatesprovidedinthisSection.
XX VII.         D UR ATION O F TH E O RDER
       IT IS FUR TH ER O RD ER ED thatthis Ordershallexpire fourteen daysfrom the date of

entry noted below, unless, w ithin such tim e, the Order is extended for an additional period

pursuanttoFed.R.Civ.P.65(b)(2).
u Vl1l.         RETENTIO N OF JUR ISDICTIO N

       IT IS FURTHER ORDERED thatthisCourtshallretainjurisdiction ofthismatterfor
al1purposes.

       DONE AND OR DERED in Cham bersatM iam i,Florida,this 31stday ofOctober,20l8,

atl0:00 a-m .

                                                1     .     -

                                           DARRIN P.GAYLES
                                           UN ITED STATES D ISTR ICT JUDGI!




                                              30
